91 F.3d 131
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Richard Wade KENDRICK, Plaintiff--Appellant,v.David T. PASTORS;  Jeff N. Dillman;  Jefferson AreaCommunity Division Incentive Program, Defendants--Appellees.
    No. 96-6206.
    United States Court of Appeals, Fourth Circuit.
    Submitted June 20, 1996.Decided July 1, 1996.
    
      Richard Wade Kendrick, Appellant Pro Se.
      Before HALL, WILKINS, and HAMILTON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. § 1983 (1988) complaint.  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  Kendrick v. Pastors, No. CA-96-6-R (W.D.Va. Jan 5, 1996).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    